            Case 2:12-cr-00033-JLR             Document 39    Filed 01/10/13     Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR12-33-JLR

10          v.                                           DETENTION ORDER

11 ROY FRITTS,

12                                Defendant.

13 Offenses charged:

14               •   Conspiracy to Murder a Federal Officer
                 •   Assault w/Intent to Murder a Federal Officer
15               •   Assault on a Federal Officer with a Dangerous Weapon.
16 Date of Detention Hearing: January 10, 2013.

17          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
18 and based upon the factual findings and statement of reasons for detention hereafter set forth,

19 finds that no condition or combination of conditions which the defendant can meet will

20 reasonably assure the appearance of the defendant as required and the safety of any other person

21 and the community.

22               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          Defendant is charged with a crime carrying a presumption of detention. He has failed to



     DETENTION ORDER - 1
              Case 2:12-cr-00033-JLR        Document 39        Filed 01/10/13      Page 2 of 2




 1 overcome that presumption, is currently serving a life term of imprisonment imposed in another

 2 matter and did not contest detention.

 3          It is therefore ORDERED:

 4          (1)    Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 6 from persons awaiting or serving sentences, or being held in custody pending appeal;

 7          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9          (3)    On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined

11 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

12 connection with a court proceeding; and

13          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

14 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

15 Officer.

16          DATED this 10th day of January, 2013.

17

18

19
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
20

21

22

23



     DETENTION ORDER - 2
